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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION



Enerra Corporation,                            §
Plaintiff,                                     §
                                               §
v.                                             §    Case Number 3:23-cv-00194-L
                                               §
Conti Group LLC, et al.,                       §
Defendants.                                    §
                                               §



                               ORDER FOR ADMISSION PRO HAC VICE


             The court has considered the Application for Admission Pro Hac Vice of
        Ahmad Takouche.

        It is ORDERED that:

        □       the application is granted. The Clerk of Court shall deposit the application fee to
                the account of the Non-Appropriated Fund of this Court. It is further ORDERED
                that, if the Applicant has not already done so, the Applicant must register as an
                ECF User within 14 days. See LR 5.1(f) and LCrR 49.2(g).

        □       the application is denied. The Clerk of Court shall return the admission fee to the
                Applicant.




_______________________________                    _______________________________
DATE                                               PRESIDING JUDGE




4883-3411-1829v1/107444-0002
